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 4
                              UNITED STATES DISTRICT COURT
 5
                                  DISTRICT OF ARIZONA
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 7
     Jade Solis, et al.,                       )
 8                                             )
                        Plaintiffs,            )
 9                                             )    CV-10-484-TUC-DCB
     v.                                        )
10                                             )
                                               )    ORDER
11   Bridgestone Corporation, et al.,          )
                                               )
12                                             )
                        Defendants.            )
13                                             )

14
             Defendant Wal-Mart’s Motion to Exclude Expert Witness Carlson (Doc.
15
     240) and Defendant Wal-Mart’s (joined with Bridgestone) Motion to Exclude
16
     Expert Witnesses Roughan and Pangarkar (Doc. 290) are before the Court.
17
                                         SUMMARY
18
             Defendant Wal-Mart moves (Doc. 240) to exclude the opinions of
19
     Plaintiffs’ expert witness Dennis Carlson. Carlson will testify that Wal-
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     Mart breached its duty to Plaintiff by installing Plaintiffs’ spare tire,
21
     due to the tire’s age; that excessive aging accelerated by design and
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     manufacturing defects was a causative factor in the tire’s failure; and
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     that Wal-Mart should have warned Plaintiff Rachel Corella             regarding her
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     tire’s age prior to installing it.
25
             Defendant Wal-Mart also joined in Defendant Bridgestone’s motion
26
     (Doc. 290, 293) to exclude Plaintiffs’ newly disclosed expert, Jan
27
     Roughan, and to also exclude any reference to Sanjog Pangarkar, M.D. The
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     Court    previously   permitted   Plaintiffs    to     retain   and    disclose   a
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 1   replacement life care planner due to the death of their previous expert,

 2   Betty June Scira. Rather than replace the life care plan opinions of

 3   Betty Scira based upon the same medical record available to Ms. Scira,

 4   Plaintiffs seek a wholesale replacement of the underlying medical record

 5   in this case to support a grossly inflated life care plan. As such,

 6   Plaintiffs’ new life care expert should not be permitted to testify or

 7   otherwise provide opinions, and any reference to Plaintiffs’ newly

 8   retained physician should be barred as well. No prejudice will accrue,

 9   as Plaintiffs can still present the life care plan of Ms. Scira supported

10   by the testimony of Ms. Solis’ treating physicians.

11                              Standard of Review

12        The admissibility of expert testimony is governed by Federal Rule

13   of Evidence 702 (Rule 702). Federal Rule of Evidence 702 provides:

14        If scientific, technical, or other specialized knowledge will
          assist the trier of fact to understand the evidence or to
15        determine a fact in issue, a witness qualified as an expert by
          knowledge, skill, experience, training, or education, may
16        testify thereto in the form of an opinion or otherwise, if (1)
          the testimony is based upon sufficient facts or data, (2) the
17        testimony is the product of reliable principles and methods,
          and (3) the witness has applied the principles and methods
18        reliably to the facts of the case.

19
     When specialized knowledge will assist the trier of fact to understand
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     the evidence in a case, Rule 702 permits testimony by experts with the
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     knowledge, skill, experience, training, or education necessary to testify
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     thereto, as long as their testimony meets these several requirements.
23
     Fed.R.Evid. 702.
24
          The role of the trial judge is to act as a gatekeeper, ensuring that
25
     only relevant and reliable testimony is admitted. See Daubert v. Merrell
26
     Dow Pharms., Inc., 509 U.S. 579, 589 (1993) (Daubert I); see also Kumho
27
     Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999). Accordingly, the
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 1   court must conduct a “preliminary assessment of whether the reasoning or

 2   methodology underlying the testimony is scientifically valid and of

 3   whether that reasoning or methodology properly can be applied to the

 4   facts in issue.” Daubert I, 509 U.S. at 592–93. “Pertinent evidence based

 5   on scientifically valid principles will satisfy those demands.” Id. at

 6   597.

 7          In Daubert I, the Supreme Court listed several key considerations

 8   to aid the trial court in its gatekeeping role. The trial court should

 9   consider: (1) whether the scientific knowledge can or has been tested;

10   (2) whether the given theory or technique has been published or subjected

11   to peer review; (3) the potential or known error rate; and (4) whether

12   the theory or technique has gained general acceptance in the pertinent

13   field. Daubert I, 509 U.S. at 592–94.

14          The court's Rule 702 analysis is flexible. Kumho Tire Co., Ltd. v.

15   Carmichael, 526 U.S. 137, 150 (1999). The court may consider any or all

16   of the Daubert I factors, depending on the “particular circumstances of

17   the particular case at issue.” (Id.)

18          The trial court may dismiss testimony that is either irrelevant or

19   unreliable. See Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187 (9th

20   Cir.2007). In evaluating the expert's testimony, the court must focus on

21   the principles or methodology involved, not the conclusions that they

22   generate.    Daubert I, 509 U.S. at 595. Thus, “the test under Daubert is

23   not the correctness of the expert's conclusions but the soundness of his

24   methodology.” Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1318

25   (9th Cir.1995) (Daubert II). “Ultimately, the court must ensure that an

26   expert employs in the courtroom the same level of intellectual rigor that

27   characterizes the practice of an expert in the relevant field,” such that

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              Case 4:10-cv-00484-DCB Document 323 Filed 04/02/13 Page 4 of 7



 1   the expert's “work product amounts to ‘good science.’ ” McClellan v.

 2   I–Flow Corp., 710 F.Supp.2d 1092, 1100 (D.Or.2010) (quoting Kumho, 526

 3   U.S. at 152 and Daubert II, 43 F.3d at 1315).           The test for reliability

 4   “‘is not the correctness of the expert’s conclusions but the soundness

 5   of his methodology.’” Stilwell v. Smith & Nephew, Inc., 482 F.3d 1187,

 6   1192   (9th Cir.   2007)   (quoting     Daubert   v.   Merrell   Dow   Pharm.,    Inc.

 7   (“Daubert II”), 43 F.3d 1311, 1318 (9th Cir. 1995)). Alternative or

 8   opposing opinions or tests do not “preclude the admission of the expert’s

 9   testimony–they go to the weight, not the admissibility.” Kennedy v.

10   Collagen Corp., 161 F.3d 1226,           1231 (9th Cir. 1998). Furthermore,

11   “‘[d]isputes as to the strength of [an expert’s] credentials, faults in

12   his use of [a particular] methodology, or lack of textual authority for

13   his opinion, go to the weight, not the admissibility, of his testimony.’”

14   Id. (quoting McCullock v. H.B. Fuller Co., 61 F.3d 1038, 1044 (2d Cir.

15   1995)).

16          Under Rule 702, the party proffering expert testimony has the burden

17   of showing the admissibility of the testimony by a preponderance of the

18   evidence. Daubert I, 509 U.S. at 592 n.10. The Ninth Circuit Court of

19   Appeals has observed that the Supreme Court “heavily emphasizes that

20   judges    are   entitled   to   broad    discretion     when     discharging     their

21   gatekeeping function” related to the admission of expert testimony.

22   United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000) (citing

23   Kumho Tire, 526 U.S. at 152). The court considers four factors to

24   determine if expert testimony will assist the trier of fact: “(i) whether

25   the expert is qualified; (ii) whether the subject matter of the testimony

26   is proper for the jury’s consideration; (iii) whether the testimony

27   conforms to a generally accepted explanatory theory; and (iv) whether the

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 1   probative value of the testimony outweighs its prejudicial effect.” Scott

 2   v. Ross, 140 F.3d 1275, 1285-86 (9th Cir. 1998) (citations omitted).

 3                                           DISCUSSION

 4           This   Court    will   apply        the       Ninth   Circuit    interpretation      and

 5   application of Fed.R.Evid. 702.

 6   A.   Expert Carlson

 7           Defendants     argue   for    excluding          Carlson’s      expert   opinions,   as

 8   follows:

 9           Carlson has insufficient scientific, technical or other
             specialized knowledge regarding tire aging to advise the jury.
10           F.R.E. 702 (a). Carlson’s testimony regarding aging flies in
             the face of multiple, reputable studies which have held that
11           it is impossible to specify an exact age at which a tire will
             fail, and Carlson has not provided any testimony based on
12           sufficient facts or data, or produced by reliable principles
             and methods, which could contradict the existing studies
13           regarding aging. F.R.E. 702 (b) & (c). Carlson also blatantly
             misrepresents the position of the tire industry regarding aged
14           tires, which he effectively conceded in deposition. Id.
             Finally, Carlson has not conducted any tests to determine the
15           interaction (if any) between the natural life cycle of a tire
             and the various accelerated aging causes due to manufacturing
16           and design defects also identified in his expert report, nor
             does he present any explanation regarding such interaction.
17           F.R.E. 702 (d). Carlson presents no data regarding the decline
             of safety in the Plaintiffs’ tire, nor does he provide a date
18           range within which it was unsafe and unreasonable for Wal-Mart
             to mount the tire, meaning that Carlson has not reliably
19           applied scientific principles and methods to the facts of this
             case. Id.
20
     (Doc. 240 at 1-2.)
21
             Plaintiffs offer Carlson as an expert witness on causation.                    If the
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     Court    determines     that   a     duty    existed,         then   Carlson’s    opinions   on
23
     causation are relevant and he is qualified to render those opinions,
24
     subject to cross-examination.
25
     B.   Experts Roughan and Pangarkar
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             The opinions of these experts go to damages. Defendant argues that:
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 1        Dr. Pangarkar is a medical expert whom Plaintiffs were
          required to disclose months previously, his opinions must be
 2        excluded. Ms. Roughan’s life care plan opinions are
          inseparable from the medical opinions of Dr. Pangarkar upon
 3        which they rely, and thus her opinions and testimony must be
          excluded from this matter as well. In addition, exclusion is
 4        an appropriate sanction for Plaintiffs’ abuse of this Court’s
          discovery order, and will not prejudice Plaintiffs because
 5        they can rely upon their former life care plan and the
          testimony of Ms. Solis’ treating physicians.
 6
     (Doc. 290 at 9-10.)
 7
          Plaintiffs argue that Jan Roughan was properly and timely disclosed
 8
     as the new life care planner.   Plaintiffs also assert that Dr. Pangarkar
 9
     consulted with Ms. Roughan but he is not going to testify at trial or be
10
     called as an expert witness and is not a treating physician.           He was
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     consulted with by Roughan as a rehabilitation doctor.    “Vigorous cross-
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     examination, presentation of contrary evidence, and careful instruction
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     on the burden of proof are the traditional and appropriate means of
14
     attacking shaky but admissible evidence.”        Daubert v. Merrell Dow
15
     Pharmaceutical, 509 U.S. 579, 596 (1993).
16
          Questions related to the bases and sources of an expert’s opinion
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     rather than its admissibility should be left for the consideration of the
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     finder of fact and these questions affect the weight to be assigned to
19
     an expert’s opinion rather than its admissibility.
20
                                     CONCLUSION
21
          In sum, Plaintiffs’ expert Carlson is well-qualified to testify. His
22
     opinions satisfy the requirements for reliability and relevance for
23
     admissibility under Fed.R.Evid. 702.    Defendant’s arguments primarily go
24
     to weight not admissibility. In addition, the life care expert is
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     qualified and satisfies the requirements of Fed.R.Evid. 702, as well.
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     The Court will sustain objections to the introduction of cumulative
27
     evidence.
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 1        Accordingly,

 2        IT IS ORDERED that the motions to exclude expert witnesses (Docs.

 3   240, 290) are DENIED without prejudice.

 4        DATED this 2nd day of April, 2013.
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